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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_______________________________________________

UNITED STATES OF AMERICA,


                                       Plaintiff,

                                                                      ORDER

                                                                      05-CR-6161L

                       v.

JOHN NICOLO, DAVID FINNMAN,
CONSTANCE ROEDER,

                              Defendants.
________________________________________________

       By motion filed February 10, 2009, defendant Constance Roeder moves to file under seal

certain parts of her sentencing memorandum, as well as twelve letter exhibits attached to the

sentencing memorandum. Those exhibits include letters from family members, letters from

defendant John Nicolo and letters from a psychotherapist (Ex. 7) and a psychiatrist (Ex. 9). The

motion seeks to seal approximately twenty pages of the forty-five page sentencing memorandum and

twelve of the twenty-two exhibits.

       If any party, or third-party, wishes to be heard on the motion, they must file their submission

on or before Friday, February 13, 2009 at 12 noon. The Court will then either rule on the motion on

the papers or schedule argument if it believes it is necessary to do so.

       IT IS SO ORDERED.



                                       _______________________________________
                                                DAVID G. LARIMER
                                              United States District Judge

Dated: Rochester, New York
       February 11, 2009.
